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                  UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             3:05CV385-V-02
                            (3:02CR94-03-MU)


ROGELIO TEODORO-ENCISO        )
     Petitioner,              )
                              )
          v.                  )                   O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before the Court on petitioner's "Motion To

Vacate, Set Aside, or Correct Sentence” under 28 U.S.C. §2255,

filed September 2, 2005.        For the reasons stated herein, however,

the petitioner’s Motion will be summarily dismissed.

                   FACTUAL AND PROCEDURAL BACKGROUND

     On   April    2,   2002,   the      petitioner   (along       with   21     other

individuals)   was      named   in   a   multi-count    Superceding        Bill    of

Indictment, charging him with conspiring to distribute 50 grams or

more of cocaine base, five kilograms or more of cocaine powder and

1,000 kilograms or more of marijuana, in violation of 21 U.S.C.

§841(a)(1) and 846 (Count One).            The petitioner also was charged

with conspiracy to import 1,000 kilograms or more of marijuana from

Mexico, in violation of 21 U.S.C. §§ 852, 960 and 963 (Count

Three); and with conspiring to launder money, in violation of 18

U.S.C. §1956 et seq. (Count Four).




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     On September 23, 2002, the petitioner entered into a Plea

Agreement with the government, wherein he agreed to plead guilty

to the drug and the money laundry conspiracy charges as alleged in

Counts One and Four of the Indictment. Among other provisions, the

Plea Agreement contained the parties’ stipulation that the amount

of marijuana which was known to or reasonably foreseeable by the

petitioner was at least 10,000 kilograms but less than 30,000

kilograms; and that the amount of cocaine powder for which he could

be held responsible was at least 500 grams but less than 2

kilograms.

     The Plea Agreement further noted the petitioner’s understand-

ing that the funds which were being laundered were proceeds from

illegal    drug   trafficking    activities.       In   addition,       the      Plea

Agreement set forth the petitioner’s stipulation to the applicabil-

ity of a two-level enhancement under U.S.S.G. §2D1.1 due to the

unlawful possession of a firearm in connection with the conspiracy

offense.

     The Plea Agreement also contained a waiver clause, noting the

petitioner’s waiver of his right “to contest either the conviction

or the sentence in any direct appeal or other post-conviction

action, including any proceeding under 28 U.S.C. §2255.”                         Such

waiver, however, did not apply to claims of ineffective assistance

of counsel or prosecutorial misconduct.

     After entering into his Plea Agreement, on October 17, 2002,


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the petitioner appeared before a United States Magistrate Judge for

a Plea and Rule 11 Hearing, at which time he tendered his guilty

pleas to the Court.           Simultaneously with the Court engaging the

petitioner in a lengthy colloquy to determine whether his pleas

were    being   knowingly      and    voluntarily             entered,        the   petitioner

completed an “Entry And Acceptance Of Guilty Plea” form, thereby

memorializing his oral answers to the Court’s questions.

        According to the form, the petitioner advised the Court inter

alia, that he had received a copy of the Superceding Indictment,

and    had   discussed    such       document          with     his   attorney;       that    he

understood the charges which he faced; and that he understood his

rights with respect to the charges, a trial and several other

procedural matters.

        Critical to this inquiry, the petitioner also advised the

Court that there was a factual basis for the subject guilty pleas;

that he was tendering his guilty pleas because he was, in fact,

guilty of the two charges; that no one had threatened him, made him

any promises of leniency or a light sentence, or otherwise induced

him to plead guilty against his will; and that he was satisfied

with counsel’s services in his case.                            Accordingly, the Court

accepted the petitioner’s guilty pleas.

        Thereafter, on August 13, 2003, the government filed a “Motion

For    Downward   Departure      .    .   .       “    on    the   petitioner’s        behalf.

According to that Motion, the petitioner had provided substantial


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assistance to the government; therefore, the government asked the

Court to reduce the petitioner’s Guidelines sentencing range from

135 to 168 months down to 97 to 121 months imprisonment.

     A few days later on August 19, 2003, the Court conducted the

petitioner’s Factual Basis & Sentencing Hearing.                       During the

initial stage of that Hearing, the petitioner affirmed the earlier

answers and statements which he made during his Plea Hearing.

Consequently, the Court affirmed its acceptance of the petitioner’s

guilty pleas.

     Next, the Court reviewed the petitioner’s Pre-Sentence Report

and concluded that his total offense level was 33, his criminal

history category was I; and that he therefore was facing a term of

135 to 168 months imprisonment.           However, the Court also granted

the government’s Motion for a Downward Departure, but rejected its

sentencing range recommendation.          Indeed, the Court departed lower

than the government had requested, and imposed an 87-month sentence

upon the petitioner.

     The petitioner did not initially file a direct appeal of this

case.    However, on August 13, 2004, the petitioner filed a Motion

to Vacate alleging, inter alia, that he had been subjected to

ineffective assistance of counsel by virtue of his attorney’s

failure to file a direct appeal as requested.              Upon its review of

that Motion this Court determined that although the petitioner had

waived his right to a direct appeal by virtue of his Plea Agree-


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ment, he still had a constitutional right to have his attorney file

an appeal for him.         Therefore, the Court concluded, out of an

abundance of caution, pursuant to United States v. Peak, 992 F.2d

39, 42 (4th Cir. 1993), that it should vacate the petitioner’s

original judgment and impose a new Judgment from which he could

appeal.   Accordingly, by Order filed October 1, 2004, this Court

vacated the petitioner’s original Judgment.

     Next,   on   October    4,   2004,   the   Court    entered       an   amended

Judgment which announced the same sentence as was originally

imposed, and from which the petitioner could appeal.                  Thereafter,

the petitioner timely gave his notice of appeal.                  The Court also

appointed counsel for the petitioner’s appeal.

     Nevertheless, after the petitioner’s appeal was docketed, the

government filed a Motion to Dismiss on the basis of the peti-

tioner’s waiver as described in his Plea Agreement.                  Not surpris-

ingly, therefore, on July 20, 2005, the Fourth Circuit Court of

Appeals granted the government’s Motion and dismissed the peti-

tioner’s appeal.

     Now, by the instant Motion to Vacate, the petitioner has

returned to this Court for habeas review.               Here, the petitioner

alleges that he was subjected to ineffective assistance of counsel

due to trial counsel’s having induced him to plead guilty with an

unfulfilled promise (presumably of leniency), and due to appellate

counsel’s failure to allege trial counsel’s ineffectiveness on


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direct appeal.    The petitioner’s Motion to Vacate also makes a

passing reference to the recent U.S. Supreme Court decisions in

Blakely v. Washington, 542 U.S. 296 (2004) and United States v.

Booker/Fanfan, 125 S.Ct. 738 (2005).

                               II.    ANALYSIS

          A.   Neither Blakely nor Booker/Fanfan are
               applicable in this collateral proceeding.

     At the outset of its analysis, the Court will address the

petitioner’s veiled attempt to raise a claim under the U.S. Supreme

Court’s recent rulings in the Blakely and Booker/Fanfan cases.                    In

Blakely, the Supreme Court clarified its ruling in Apprendi v. New

Jersey, 530 U.S. 466 (2000), explaining that for Apprendi purposes,

the statutory maximum term was not the outer limits set forth in

the statute, but the maximum sentence that a State judge could

impose “solely on the basis of the facts reflected in the jury

verdict   or   admitted       by     the   defendant.”        Subsequently        in

Booker/Fanfan, the Supreme Court made its holding from Blakely

applicable to sentences imposed under the U.S. Sentencing Guide-

lines, and concluded that the mandatory provisions of the Guide-

lines are unconstitutional to the extent that they permit judges to

find facts relevant to sentencing.

     However, the Supreme Court has not stated that its rulings in

either Apprendi, Blakely or Booker/Fanfan could be given retroac-

tive application in collateral proceedings such as this one. More-

over, in United States v. Sanders, 247 F.3d 139 (4th Cir.), cert.

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denied, 534 U.S. 1032 (2001), the Fourth Circuit Court of Appeals

specifically    held   that    based   upon    well-settled       constitutional

precedent, the rule from Apprendi cannot be retroactively applied

in cases which are on collateral review.                  Similarly, in the

unpublished decision, United States v. Fowler, No. 05-6493 (WL

1416002 W.Va. June 17, 2005), the Fourth Circuit stated that

“neither Booker nor Blakely announce a new rule of constitutional

law made retroactive by the Supreme Court to cases on collateral

review.”   Therefore, the petitioner’s passing reference to these

cases simply is unavailing.

           B.   The petitioner has failed to show that
                his pleas were involuntarily made.

     At the core of his claim against trial counsel--that counsel

unlawfully induced to him plead guilty by unfulfilled promises-–is

the petitioner’s assertion that his guilty pleas were not volun-

tarily made.     Contrary to his allegation of improper inducement,

however, the record in this case tends to establish knowing and

voluntarily tendered pleas.

     Indeed, turning first to the Plea & Rule 11 proceeding, the

petitioner unequivocally told the Court, under oath, that he was

guilty of the subject conspiracy charges; that other than the terms

of his Plea Agreement, no one had made him any promises of

leniency; that no one had threatened, forced or intimidated him

into entering his guilty pleas; and that he understood that even if

he received a higher sentence than was anticipated, such fact would

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not provide a justification for withdrawing his guilty pleas.

     In further contrast to the petitioner’s claim, the record also

shows that he did, in fact, receive a lower sentence than was

actually applicable for his convictions.           That is, based upon the

petitioner’s cooperation with the government, as facilitated by his

trial attorney, the petitioner’s sentence was reduced from a range

of 135 to 168 down to a term of 87 months imprisonment.

     However, the law is well settled that statements made during

Rule 11 proceedings, such as those outlined above, constitute

strong evidence of the voluntariness of a defendant’s plea. United

States v. DeFusco, 949 F.2d 114, 119 (4th Cir. 1991).                  Similarly,

the Fourth Circuit has indicated that where, such as here, the plea

bargain was “favorable” to a defendant and that accepting it was “a

reasonable and prudent decision,” such factors are themselves

evidence of “[t]he voluntary and intelligent” nature of the plea.

Fields v. Attorney Gen. Of Md., 956 F.2d 1290, 1299 (4th Cir 1992).

Therefore, on this record, the petitioner’s claim must be rejected

because he has failed to demonstrate that his guilty pleas were the

result of anything less than his own voluntary and intelligent

choice.

          C.   The petitioner also cannot prevail on his
               claim against his former appellate counsel.

     With respect to a claim of ineffective assistance of counsel

in general, a petitioner must show that counsel's performance was

constitutionally deficient to the extent it fell below an objective

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standard of reasonableness, and that he was prejudiced thereby,

that is, that there is a reasonable probability that but for the

error, the outcome would have been different.                     Strickland v.

Washington, 466 U.S. 668, 687-91 (1984). In making this determina-

tion, there is a strong presumption that counsel's conduct was

within the wide range of reasonable professional assistance. Id. at

689; see also Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297-

99 (4th Cir.), cert. denied, 474 U.S. 865 (1985); Hutchins v.

Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983), cert. denied, 464

U.S. 1065 (1984); and Marzullo v. Maryland, 561 F.2d 540 (4th Cir.

1977), cert. denied, 435 U.S. 1011 (1978).

     To demonstrate prejudice, the petitioner must show a probabil-

ity that the alleged errors worked to his "actual and substantial

disadvantage, infecting his trial with error of constitutional

dimensions."   Murray v. Carrier, 477 U.S. 478, 494 (1986), citing

United States v. Frady, 456 U.S. 152, 170 (1982).

     In order to prevail on an ineffective assistance of counsel

claim, the petitioner “bears the burden of proving Strickland

prejudice.” Fields, 956 F.2d at 1297, citing Hutchins, 724 F.2d at

1430-31. If the petitioner fails to meet this burden, a “reviewing

court need not consider the performance prong.”              Fields, 956 F.2d

at 1290, citing Strickland, 466 U.S. at 697.

     Moreover, a petitioner who alleges ineffective assistance

following entry of a guilty plea has an even higher burden to meet.


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See Hill v. Lockhart, 474 U.S. at 53-59; Fields, 956 F.2d at 1294-

99; and Hooper v. Garraghty, 845 F.2d 471, 475 (4th Cir.), cert.

denied, 488 U.S. 843 (1988).           The Fourth Circuit described the

petitioner’s additional burden in a post-guilty plea claim of

ineffective assistance of counsel as follows:

             When a [petitioner] challenges a conviction
             entered after a guilty plea, [the] “prejudice
             prong of the [Strickland] test is slightly
             modified.   Such a defendant must show that
             there is a reasonable probability that, but
             for counsel’s errors, he would not have plead-
             ed guilty and would have insisted on going to
             trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lockhart,

474 U.S. at 59; and Fields, 956 F.2d at 1297.

     In evaluating post-guilty plea claims of ineffective assis-

tance, statements previously made under oath affirming satisfaction

with counsel are deemed binding in the absence of “clear and

convincing evidence to the contrary.”             Fields, 956 F.2d at 1299,

citing Blackledge v. Allison, 431 U.S. 63, 74-75 (1977).

     Here,    the   petitioner      alleges    that   appellate        counsel      was

ineffective because he failed to present on direct appeal the

petitioner’s    claim     against    trial    counsel.         However,      as     was

previously noted, the petitioner’s direct appeal was summarily

dismissed pursuant to the valid and enforceable waiver provisions

in his Plea Agreement.

     Furthermore, the petitioner has failed, in any vent, to point

to any ineffectiveness which would have been conclusively evident

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from the record on direct appeal.                Therefore, on this record the

petitioner cannot show that appellate counsel’s performance was

either deficient or prejudicial in this regard.                      Accordingly, this

claim also must fail. See United States v. Vinyard, 266 F.3d 320,

333 (4th Cir. 2001), cert. denied, 536 U.S. 992 (2002) (noting that

ineffective assistance of counsel claims may not be raised on

direct appeal unless the record of such matter is conclusive);

United States v. Richardson, 195 F.3d 192, 198 (4th Cir. 1999),

cert. denied, 528 U.S. 1096 (2000) (same); and United States v.

King, 119 F.3d 290, 295 (4th Cir. 1997).

             D.     The petitioner’s post-conviction pro-
                    testations of innocence are feckless.

     Finally, it has not escaped the Court’s attention that the

petitioner     is    now    attempting     to    protest       his    innocence,      both

claiming that he was not a co-conspirator and, in the alternative,

that the amount of drugs for which he should have been held

accountable was lower than the amount found by the Court.                        Suffice

it to say, however, this belated attack simply is too little too

late.

     Indeed, the Fourth Circuit has indicated that once the trial

court conducts a           Rule 11 colloquy and finds the plea to be

knowingly     and    voluntarily    entered,         as   in    this     case,    absent

compelling reasons to the contrary, the defendant’s guilt are

deemed to be conclusively established.                    Via v. superintendent,

Powhatan Correctional Center, 643 F.2d 167, (4th Cir. 1981); Accord

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Blackledge v. Allison, 431 U.S. 63, 73-74 (1977)(defendant’s plea

and statements at Rule 11 proceedings “constitute a formidable

barrier” to their subsequent attack).

     As has been noted, the record here conclusively establishes

that the petitioner admitted his guilt under oath during his Plea

& Rule 11 proceedings, he reaffirmed such admission during his

Sentencing Hearing, and he stipulated to the amount of drugs for

which he could be held accountable.          Thus, it goes without saying

that the petitioner cannot prevail in this attempt.

                             III.   CONCLUSION

     The record of this case reflects that the petitioner’s claims

are baseless.   Therefore, this Motion to Vacate must be summarily

dismissed.

                                 IV. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the instant Motion

to Vacate is DISMISSED.

     SO ORDERED.




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